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                       UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF FLORIDA
                                 Tampa Division
                         Case No. 8:20-cv-2184-MSS-SPF

MELANIE MOORE

      Plaintiff,
                     v.

POOCHES OF LARGO, INC. &
LUIS MARQUEZ

      Defendants.
__________________________________/

                   DEFENDANTS’ AMENDED TRIAL EXHIBIT LIST

 Exhibit Date       Date     Witness Objections/Stipulated Description             of
 No.     Identified Admitted         Admissions            Exhibit

 1.                                                                Plaintiff’s
                                                                   paycheck stub
                                                                   from Pooches of
                                                                   Largo, Inc. for
                                                                   her first week of
                                                                   employment


 2.                                                                Plaintiff’s direct
                                                                   deposit     notice
                                                                   from Pooches of
                                                                   Largo, Inc. for
                                                                   second and third
                                                                   weeks            of
                                                                   employment
 3.                                                                8/31/2018 Text
                                                                   exchange
                                                                   between Plaintiff
                                                                   and         Alison
                                                                   Nieves
 4.                                                                Unauthenticated
                                                                   Indeed.com job
                                                                   posting         for
                                                                   Certified
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                                                                   Veterinary
                                                                   Technician         at
                                                                   the          Largo,
                                                                   Florida Petland
                                                                   location
 5.                                                                12/6/2018
                                                                   Demand        letter
                                                                   from Cellar Legal
                                                                   P.A. to Pooches
                                                                   of Largo, Inc
 6.                                                                Screenshot         of
                                                                   Indeed.com
                                                                   showing
                                                                   performance
                                                                   analytics         for
                                                                   Pooches            of
                                                                   Largo, Florida’s
                                                                   Kennel
                                                                   Technician job
                                                                   posting
 7.                                                                Copies             of
                                                                   Plaintiff’s    time
                                                                   slips          from
                                                                   Pooches            of
                                                                   Largo, Florida
 8.                                                                Unauthenticated
                                                                   Wage Agreement
                                                                   indicating
                                                                   $35,000 salary
 9.                                                                Pooches            of
                                                                   Largo,        Inc.’s
                                                                   employee
                                                                   timesheet         for
                                                                   Plaintiff’s     first
                                                                   week               of
                                                                   employment
 10.                                                               Pooches            of
                                                                   Largo,        Inc.’s
                                                                   employee
                                                                   timesheet         for
                                                                   Plaintiff’s second
                                                                   week               of
                                                                   employment
 11.                                                               Pooches            of
                                                                   Largo,        Inc.’s
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                                                                   employee
                                                                   timesheet         for
                                                                   Plaintiff’s third
                                                                   week               of
                                                                   employment
 12.                                                               Pooches            of
                                                                   Largo,        Inc.’s
                                                                   employee
                                                                   timesheet
                                                                   showing        total
                                                                   hours worked for
                                                                   Plaintiff’s     first
                                                                   week               of
                                                                   employment
 13.                                                               Pooches            of
                                                                   Largo,        Inc.’s
                                                                   timesheet
                                                                   showing        total
                                                                   hours worked for
                                                                   Plaintiff’s second
                                                                   week               of
                                                                   employment
 14.                                                               Pooches            of
                                                                   Largo,        Inc.’s
                                                                   timesheet
                                                                   showing        total
                                                                   hours worked for
                                                                   Plaintiff’s third
                                                                   week               of
                                                                   employment
 15.                                                               Pooches            of
                                                                   Largo,          Inc.
                                                                   payroll liability
                                                                   for the period of
                                                                   8/17/2018
                                                                   through
                                                                   8/30/2018
 16.                                                               Pooches            of
                                                                   Largo,           Inc
                                                                   payroll liability
                                                                   for the period of
                                                                   8/31/2018
                                                                   through
                                                                   9/13/2018
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 17.                                                                  Pooches       of
                                                                      Largo,      Inc.
                                                                      payroll
                                                                      summary for
                                                                      the period of
                                                                      8/17/2018
                                                                      through
                                                                      8/30/2018
 18.                                                                  Pooches       of
                                                                      Largo,       Inc
                                                                      payroll
                                                                      summary for
                                                                      the period of
                                                                      8/31/2018
                                                                      through
                                                                      9/13/2018
 19.                                                                  Pooches       of
                                                                      Largo,      Inc.
                                                                      Regions
                                                                      Bank
                                                                      statement
                                                                      from
                                                                      September
                                                                      2018
 20.                                                                  Plaintiff’s
                                                                      2018         W2
                                                                      from
                                                                      Pooches       of
                                                                      Largo, Inc.


                            Respectfully submitted,

                             /s/ Matthew Sarelson
                             Matthew Seth Sarelson, Esq.
                             DHILLON LAW GROUP, INC.
                             Counsel for Defendants
                             1601 Forum Place, Suite 403
                             West Palm Beach, Florida 33401
                             305-773-1952
                             msarelson@dhillonlaw.com
                             Florida Bar No. 888281
